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 8                            UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF ARIZONA
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11
12   Richard Blair,                                     Case No.: 2:22-cv-01439-ROS
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                    Plaintiff/Counter-Defendant,
14                                                      PLAINTIFF’S CONTROVERTING
15   vs.                                                STATEMENT OF FACTS IN
                                                        OPPOSITION TO DEFENDANT’S
16   Automobili Lamborghini S.p.A.,                     MOTION FOR SUMMARY
17                                                      JUDGMENT
                    Defendant/Counterclaimant.
18
19           Plaintiff Richard Blair (“Blair” or “Plaintiff”), pursuant to L.R. Civ. 56.1(b),

20   submits the following controverting Statement of Facts in opposition to Defendant

21   Automobili Lamborghini S.p.A.’s (“Lamborghini’s” or “Defendant’s”) motion for

22   summary judgment.

23          Defendant’s Statement of Facts                       Plaintiff’s Response

24         1. On January 16, 1990, Lamborghini          Undisputed.

25    filed an application, Serial No. 74019105,

26    with the United States Patent and

27    Trademark Office (“USPTO”) to register

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 1   the LAMBORGHINI mark. Ex. A,
 2   Lamborghini_0000002.
 3      2. On November 13, 1990, the                    Undisputed.
 4   USPTO granted Lamborghini’s
 5   application and the LAMBORGHINI
 6   mark received its federal registration, U.S.
 7   Registration No. 1622382. Ex. A,
 8   Lamborghini_0000002.
 9      3. The domain <lambo.com> was                   Undisputed.
10   registered on March 5, 2000. Ex. U,
11   Pl_000010.
12      4. On February 16, 2018, Blair                  Undisputed.
13   purchased the disputed domain name for
14   $10,000.
15      5. LAMBORGHINI is a well-known,                 Disputed to the extent that the quoted
16   world-famous mark that has been used for           dicta from Yelp Inc. v. Catron, 70 F. Supp.
17   over fifty years. See Automobili                   3d 1082, 1097 (N.D. Cal. Oct. 1, 2014) is
18   Lamborghini S.p.A v. Garcia, No. 1:18-             not a factual statement or finding.
19   cv-62 (TSE/TCB), 2020 WL 2048165, at               Defendant states a legal conclusion in the
20   *5 (E.D. Va. Apr. 20, 2020)                        disguise of a factual statement by stitching
21   (“Lamborghini has used the Marks                   its LAMBORGHINI mark and the term
22   exclusively and continuously for over fifty “Lambo” to a legal statement from the
23   years, has never abandoned them, and has           Yelp case taken out of context.
24   spent millions of dollars in advertising and In fact, the term “Lambo” is widely used
25   promoting the Marks throughout the                 by many non-parties around the world. A
26   United States and the world. As a result,          search with the term “Lambo” on
27   the Marks are world famous and the                 tmdn.org, a trademark search engine
28   consuming public exclusively associates            supported by the European Union
                                                    2
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 1   the Marks with Lamborghini.”); Audi AG            Intellectual Property Network, returns
 2   v. Posh Clothing, LLC, No. 18-14254,              thirty (30) live registration with the single
 3   2019 WL 1951166, at *4 (D.N.J. May 2,             word “Lambo” for products and/or
 4   2019); Volkswagen Grp. of Am., Inc. v.            services outside the automobile industry.
 5   Unincorporated Associations Identified in         See Ex. Q to the Affidavit of Nellie Gong
 6   Schedule A, No. 1:20-cv-01437-LO-MSN,             (“Gong Aff.”). A search with the same
 7   2021 WL 8444641, at *2 (E.D. Va. July             tool returns at least another thirty-one (31)
 8   21, 2021), report and recommendation              live registrations with the term “Lambo”
 9   adopted, No. 1:20-cv-1437, 2021 WL                combined with one other word or design
10   8445261 (E.D. Va. Aug. 23, 2021).                 elements. See Ex. R to Gong Aff.
11   “Lambo” is nothing more than a shortened “Lambo” is also a surname. See Ex. U to
12   version of LAMBORGINI that merely                 Gong Aff. Furthermore, a search of the
13   “delete[s] . . . letters in the mark.” Yelp       term “Lambo” on Dun & Bradstreet
14   Inc. v. Catron, 70 F. Supp. 3d 1082, 1097         (dnb.com) returns five hundred and
15   (N.D. Cal. Oct. 1, 2014).                         ninety-seven (597) results for companies
16                                                     and business entities from various
17                                                     industries across the world using or
18                                                     incorporating “lambo” in their names. See
19                                                     Ex. S to Gong Aff. A search of “Lambo”
20                                                     on IMDb (imdb.com) returns three results
21                                                     of audiovisual works. See Ex. T to Gong
22                                                     Aff.
23      6. “Lambo” is also a well-known                Disputed, to the extent that “Lambo” is
24   shorthand for Lamborghini. See                    not exclusively used as a well-known
25   Automobili Lamborghini SpA v.                     shorthand for Lamborghini. See Gong Aff.
26   Lamboshop, Inc., 2008 WL 2743647, at              ¶¶ 3-7, Exs. Q to U; see also Affidavit of
27   *4 (M.D. Fla. June 5, 2008) (finding              Richard Blair (“Blair Aff.”) ¶ 10.
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 1   “Lambo” was a “well-known shorthand
 2   for Lamborghini”).
 3      7. Mr. Blair has no trademark rights             Undisputed.
 4   in the word LAMBO. Ex. B, Plaintiff’s
 5   Response to Interrogatory No. 3.
 6      8. It is undisputed that Lambo is not            Undisputed.
 7   Richard Blair’s legal name. See ECF No.
 8   21 (First Amended Complaint), ¶ 2
 9   (“Plaintiff Richard Blair is a citizen of the
10   United Kingdom with a residence at 8
11   West St., San Rafael, CA 94901.”).
12      9. “Lambo” is not a name “commonly Disputed. While Mr. Blair goes by his
13   used to identify [Mr. Blair].” Ex. C,               legal name in some contexts, he has also
14   Pl_000594 (referring to the plaintiff as            been actively using “Lambo,”
15   “Richard”); Ex. D, Pl_000598 (signing               “Lambo.com,” and/or “Lambodotcom” as
16   email with the name “Richard”); Ex. E,              his moniker, appellation, or nom de guerre
17   Pl_000600 (signing email with the name              in multiple online communities, including
18   “Richard”).                                         WhatsApp (Ex. G, Pl_000548), Telegram
19                                                       (in connection with Mr. Blair’s
20                                                       management of <bss.org>) (Ex. H,
21                                                       Pl_000536-Pl_000539), X.com (formerly
22                                                       Twitter) (Ex. I, Pl_000541),
23                                                       NamePros.com (Ex. J, Pl_000089), and
24                                                       lichess.org (Ex. K, Pl_000086). Other
25                                                       users on X.com referred to Mr. Blair as
26                                                       “Lambo.” Ex. L, at Pl_000533-
27                                                       Pl_000535. On September 17, 2020, after
28                                                       Mr. Blair acquired <lambo.com> and

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 1                                     years before Defendant submitted its
 2                                     complaint to WIPO, Mr. Blair made a post
 3                                     on NamePros.com, titled as “I am Lambo,
 4                                     Q&A Anything with Me.” See Ex. N,
 5                                     Pl_000641-Pl_000646 (the “Q&A Post”).
 6                                     In this post, Mr. Blair offered to share
 7                                     information about himself and his
 8                                     experiences with domain names. Users
 9                                     under the Q&A Post greeted and
10                                     recognized Mr. Blair as “Lambo.” See id.
11                                     In response to the question “Why lambo
12                                     name?”, Mr. Blair stated “I'm gonna
13                                     moniker a dotcom of mine, otherwise
14                                     what kind of domainer would I be?!”. Ex.
15                                     F, Pl_000378.
16                                     Mr. Blair has created an iconography in
17                                     connection with “Lambo” as a stylized
18                                     lamb with protruding blue brain, as shown
19                                     as his profile picture in the Q&A Post.
20                                     Blair Aff. ¶ 17. Mr. Blair has consistently
21                                     used the stylized lamb icon in connection
22                                     with his online moniker “Lambo” on
23                                     different Internet platforms, including
24                                     WhatsApp, Telegram, and
25                                     NamePros.com, since late 2019. See Exs.
26                                     F-I; Blair Aff. ¶ 17. Mr. Blair is known by
27                                     the Lambo moniker in the field of domain
28                                     name investment and development. Mr.

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 1                                                    Blair is also frequently addressed as
 2                                                    “Lambo” among friends and family,
 3                                                    including his father. See Ex. L,
 4                                                    Pl_000533-Pl_000535; Pl_000545-
 5                                                    Pl_000547; Blair Aff. ¶ 23.
 6      10. Mr. Blair has not used the disputed       Disputed. Mr. Blair acquired
 7   domain. ECF No. 21, ¶ 11.                        <lambo.com> as part of his domain name
 8                                                    portfolio. He maintains a portfolio of
 9                                                    about 130 domain names, some of which
10                                                    he develops. See Ex. A, at Attachment 1;
11                                                    see also Blair Aff. ¶¶ 1, 3-5.
12                                                    Mr. Blair acquired the domain name
13                                                    <Lambo.com> as he saw it as a brandable,
14                                                    pronounceable, single-word dot-com
15                                                    domain name, which he initially thought
16                                                    would be a good name for subsequent
17                                                    development. See Blair Aff. ¶ 8. Mr. Blair
18                                                    planned to develop <lambo.com> into an
19                                                    active website, and he completed a
20                                                    WordPress installation and a landing page
21                                                    on May 2, 2019. See Ex. C, Pl_000009;
22                                                    see also Blair Aff. ¶ 13. Mr. Blair
23                                                    subsequently decided to remain focused
24                                                    on developing another website at
25                                                    <ceec.com> due to limited personal
26                                                    capacity, and to resume development of
27                                                    <lambo.com> at a later date. Blair Aff. ¶
28                                                    14. Mr. Blair plans to build <lambo.com>

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 1                                                    into a blog and Ceec founder’s website
 2                                                    once <Ceec.com> reaches certain
 3                                                    development milestones. Blair Aff. ¶¶ 14,
 4                                                    15.
 5                                                    Over time, Mr. Blair started to view
 6                                                    <lambo.com> as something more than a
 7                                                    collected item in his portfolio—he sees
 8                                                    the name “Lambo” as a perfect
 9                                                    encapsulation of his identity and ethos.
10                                                    Blair Aff. ¶ 9. Starting around October
11                                                    2019, Mr. Blair adopted “Lambo” as his
12                                                    online nom de guerre. See Blair Aff. ¶¶ 9,
13                                                    16; see also Ex. F, Pl_000378; Ex. G,
14                                                    Pl_000548; Ex. H, Pl_000536-Pl_000539;
15                                                    Ex. I, Pl_000541; Ex. J, Pl_000089. As
16                                                    described and stated above, Mr. Blair is,
17                                                    in fact, known in the domain industry as
18                                                    “Lambo” and “Lambodotcom.” See Ex.
19                                                    N, Pl_000641-Pl_000646.
20      11. Mr. Blair has admitted that he            Undisputed.
21   “initially planned on developing a website
22   at [<lambo.com>]” but “[t]hose plans
23   were subsequently delayed and
24   abandoned.” ECF No. 21, ¶ 11.
25      12. On April 29, 2022, Lamborghini            Undisputed.
26   filed a Complaint with the WIPO
27   Arbitration and Mediation Center (the
28   “Center”) seeking a transfer of domain

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 1   name <lambo.com> under the Uniform
 2   Domain Name Dispute Resolution Policy.
 3   See Ex. F, WIPO Decision.
 4      13. On August 3, 2022, the panel                Undisputed that a majority of the panel so
 5   determined that the <lambo.com> domain             ruled.
 6   was confusingly similar to the
 7   LAMBORGHINI mark and that Blair was
 8   using the mark in bad faith. The panel
 9   ordered Blair to transfer the domain to
10   Lamborghini. See Ex. F, WIPO Decision.
11      14. After Lamborghini filed its WIPO            Undisputed.
12   complaint, Mr. Blair redirected visitors to
13   <lambo.com> domain to a third-party
14   website wherein Mr. Blair stated, among
15   other things, that he would “defend,
16   defeat, and humiliate” Lamborghini,
17   accused Lamborghini of “theft,” and
18   provided a link to the UDRP proceedings.
19   Ex. G (showing the redirection page); Ex.
20   H (showing the page that <lambo.com>
21   redirected to).
22      15. Mr. Blair has and continues to offer Disputed. Mr. Blair listed <lambo.com>
23   to sell the disputed domain to third parties       for increasingly exorbitant prices to
24   for financial gain. Ex. E, Pl_000600; Ex.          discourage people from making offers to
25   I, Pl_000609.                                      purchase the domain name, as the domain
26                                                      name became more valuable to him as an
27                                                      integral part of his identity. See Blair Aff.
28                                                      ¶ 26. Many people have inquired about

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 1                                                      purchasing <lambo.com>, which is
 2                                                      demanding Mr. Blair’s time and attention.
 3                                                      See Blair Aff. ¶ 27. Unsolicited bidders
 4                                                      even started transactions on Escrow.com
 5                                                      without his agreement. See Blair Aff. ¶ 27.
 6                                                      As he explained in the Q&A Post, years
 7                                                      before Lamborghini initiated UDRP
 8                                                      proceedings against him, “[n]ot all my
 9                                                      domains are actively for sale really, I do
10                                                      incubate, nurture and build too.” See Ex.
11                                                      M, Pl_000377-Pl_000378. Mr. Blair
12                                                      received many inquiries from third parties,
13                                                      seeking the asking price of <lambo.com>.
14                                                      Although he has responded to some offers
15                                                      to purchase <lambo.com>, none of his
16                                                      responses have been serious – they have
17                                                      been for the purpose of deterring the
18                                                      inquiring party. Blair Aff. ¶ 28. Mr. Blair
19                                                      has never made any effort to negotiate a
20                                                      sale of the domain name. Id.
21      16. At least as early as August 6, 2020,        Undisputed.
22   Mr. Blair listed the disputed domain for
23   sale for a price of $1,129,298.00. Ex. J.
24      17. At least as early as December 23,           Undisputed.
25   2020, Mr. Blair listed the disputed domain
26   for sale for a price of $1.5 million. Ex. K,
27   Pl_000589.
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 1      18. At least as early as January 27,             Undisputed.
 2   2021, Mr. Blair listed the disputed domain
 3   for sale for a price of $3.3 million. Ex. L,
 4   Pl_000590.
 5      19. At least as early as September 23,           Undisputed.
 6   2021, Mr. Blair listed the disputed domain
 7   for sale for a price of $12 million. Ex. M.
 8      20. At least as early as August 11,              Undisputed.
 9   2022, Mr. Blair listed the disputed domain
10   for sale for a price of €50 million. Ex. N.
11      21. At least as early as September 7,            Undisputed.
12   2023, Mr. Blair listed the disputed domain
13   for sale for a price of $75 million. Ex. O.
14      22. The disputed domain is currently             Undisputed.
15   listed for sale for $75 million. Ex. P.
16      23. Mr. Blair has received offers from           Undisputed.
17   others seeking to buy <lambo.com>. Ex.
18   Q, Pl_000571; Ex. R, Pl_000583.
19      24. In an email dated January 6, 2021            Disputed. Mr. Blair did not respond to the
20   in response to an opening offer of                  offer. Rather, he informed the founder and
21   $100,000, Mr. Blair notes that the                  CEO of epik, Rob Monster, that the
22   “reserve” price for <lambo.com> is                  “reserve” price for the domain name was
23   $888,888. Ex. S, Pl_000595.                         $888,888. Ex. S to Defendant’s Rule 56.1
24                                                       Statement (ECF No. 57-19), Pl_000595 at
25                                                       1.
26      25. In email correspondence from                 Disputed to the extent that there is no
27   September 20, 2021, Mr. Blair tells a               evidence that the person who inquired of
28   prospective buyer that the “asking price            Mr. Blair was a prospective buyer.
                                                    10
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 1   for Lambo.com is USD $12m.” Ex. E,
 2   Pl_000600.
 3      26. On April 17, 2023, in responding to Disputed. No offer to buy the domain for
 4   an offer to buy the domain for                     $50,000,000 was ever made. Further, the
 5   $50,000,000, Mr. Blair tells the                   quoted statement from Mr. Blair was
 6   prospective buyer that he “would be                sarcasm. Mr. Blair was not being serious
 7   agreeable to a near all cash offer if ready        when he mentioned being amenable to a
 8   to close.” Ex. I, Pl_000609 at 2.                  near all-cash offer of $50 million from
 9                                                      someone he believed to be a time waster.
10                                                      See Blair Aff. ¶ 29. Following Mr. Blair’s
11                                                      response, the prospective buyer stated
12                                                      “What sort of price are you looking for? I
13                                                      am liquid but 50m is super crazy haha.”
14                                                      Ex. I to Defendant’s Rule 56.1 Statement
15                                                      (ECF No. 57-9), Pl_000609 at 1. Mr. Blair
16                                                      responded “I understand. Thanks anyway
17                                                      for your interest and best wishes.” Id. at 1.
18                                                      The prospective buyer replied, “What's
19                                                      your best price? I am super interested.”
20                                                      Mr. Blair terminated the conversation. Id.
21                                                      at 1. Mr. Blair provided such responses to
22                                                      discourage prospective buyers from
23                                                      bidding on <lambo.com>. See Blair Aff. ¶
24                                                      29.
25      27. The LAMBORGHINI mark is                     Undisputed.
26   distinctive and famous. Ex. A,
27   Lamborghini_0000002.
28

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 1       28. The term “lambo” is confusingly           Undisputed.
 2    similar to the LAMBORGHINI mark. See
 3    Ex. T, April 9, 2024 Status Conference
 4    Transcript 18:2-7 (conceding that “lambo”
 5    “is a term that is commonly associated
 6    with the Lamborghini car; and so from the
 7    context of an ACPA claim, I tend to agree
 8    with Mr. Nowak that it is likely that the
 9    confusing similarity threshold would be
10    met.”).
11
12
13   Plaintiff’s Additional Statements of Fact:
14      29. Mr. Blair acquired the domain name <Lambo.com> because it was a brandable,
15   pronounceable, single word dot com domain name, which he thought would be a good
16   name to develop. It had nothing to do with Lamborghini. See Blair Aff. ¶¶ 8, 32.
17      30. Prior to acquiring the domain name <lambo.com>, as his usual practice, Mr. Blair
18   conducted a search for “lambo” with various search engines, including LinkedIn, the
19   OpenCorporates website, the USPTO, and DotDB.com. See Blair Aff. ¶ 10. Mr. Blair did
20   not encounter any live marks registered to Lamborghini. See Blair Aff. ¶ 10. He did
21   encounter a number of third-party uses of “Lambo” and several registered trademarks for
22   various uses across industries. See Blair Aff. ¶ 10.
23      31. Based on this search, Mr. Blair concluded that “Lambo” was a common term,
24   which is generic and available for various uses across industries. See Blair Aff. ¶ 10.
25      32. Mr. Blair did not register the domain name with the intent to sell it to
26   Lamborghini, and has never offered to sell the domain name to Lamborghini. See Blair
27   Aff. ¶ 32.
28

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 1      33. Mr. Blair did not use the domain name to divert users searching for Lamborghini
 2   to a website with pay-per-click ads. See Blair Aff. ¶ 33.
 3      34. Mr. Blair did not register the domain name to prevent Lamborghini from
 4   representing its trademark – which is LAMBORGHINI – in a domain name. See Blair
 5   Aff. ¶ 34.
 6      35. Lamborghini does not use “Lambo” as a trademark, and does not own a
 7   registration for a Lambo mark in the United States. Lamborghini sells cars branded as
 8   “Lamborghinis,” not “Lambos.” See Ex. O, LAMBORGHINI_0000001-0000030; see
 9   also Blair Aff. ¶ 35.
10      36. Mr. Blair had an early plan of developing the <Lambo.com> website. He
11   completed a WordPress installation and a landing page on May 2, 2019. See Blair Aff. ¶
12   13. Mr. Blair subsequently decided to remain focused on developing another website at
13   <ceec.com> and resume development of <lambo.com> at a later date. See Blair Aff. ¶ 14.
14   Mr. Blair completed developting <ceec.com> on May 10, 2024, and the website shows
15   that it was built by “Lambo.” See Blair Aff. ¶ 14; see also, Ex. D, Pl_000087-Pl_000088;
16   Ex. E. Mr. Blair plans to develop <lambo.com> into a blog and Ceec founder’s website
17   once <Ceec.com> reaches certain development milestones. See Blair Aff. ¶ 15.
18      37. Mr. Blair chose and adopted Lambo as a moniker because the name “Lambo”
19   resonated with him on a personal level and perfectly encapsulated his identity and ethos.
20   Blair Aff. ¶ 9. He also felt that he should use one of his domain names to illustrate how
21   domain names could be used as online identities. See Blair Aff. ¶ 16; Ex. F, Pl_000378.
22      38. Mr. Blair was drawn to the name “Lambo” as a play on the word “Lamb,” with an
23   outlier generic aptitude and intelligence, hence "Lamb-O.” See Blair Aff. ¶ 16.
24      39. Mr. Blair listed <lambo.com> for increasingly exorbitant prices to discourage
25   people from inquiring or offering to purchase the domain name. Some inquirers have
26   even started transactions on Escrow.com without his agreement to sell the <lambo.com>
27   domain name. Mr. Blair listed the domain for increasingly high prices to deter unwanted
28   offers and transactions. See Blair Aff. ¶ 27.

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 1      40. Mr. Blair has assigned it the highest price among all his domain names, as
 2   <Lambo.com> is integral to his identity and has become his nom de guerre. See Blair
 3   Aff. ¶ 26.
 4      41. Mr. Blair has invested in domain names since 2009. See Blair Aff. ¶ 1. In the past
 5   six years, he has financed and project-managed an international team building internet
 6   gateway and search engine. Prior to this, Mr. Blair was a professional coin dealer for ten
 7   years specializing in modern Chinese numismatics. See Blair Aff. ¶ 2. Mr. Blair has
 8   developed several domain names that he acquires, such as <ChineseCoins.com>,
 9   <Coinex.com>, <Datafeed.com>, <Sociology.com>, and <Ceec.com>. See Blair Aff. ¶ 1.
10      42. Mr. Blair maintains a portfolio of about 130 domain names, which he assigns
11   different values to as he sees fit. Mr. Blair has different plans for different domain
12   names—whether for sale, for development, or for long-term possession. See Blair Aff. ¶
13   3; Exs. A. B.
14      43. Mr. Blair’s domain name portfolio includes short domains with randomized
15   combinations of letters or numbers, such as <11215.com>, <wywy.com>, <ceec.com>,
16   and <nyip.com>. It also includes combinations of commonly-used words, such as
17   <AsbestosLitigation.com>, <Babywalker.om>, <ComputerCase.com>,
18   <InternetFilter.com>, <CigarRoller.com>, <FlyerDesign.com>, <InvestorList.com>, and
19   <LoveDomains.com>. See Blair Aff. ¶ 4; see also Exs. A, B. Mr. Blair’s acquisition
20   strategy focuses on common, generic distionary words and simple alphanumeric
21   combinations chosen for their broad applicability and inherent value as generic terms. See
22   Blair Aff. ¶ 5.
23      44. None of the domain names in Mr. Blair’s portfolio infringe on known trademarks.
24   See Blair Aff. ¶ 6.
25      45. Mr. Blair conducts preliminary searches before he acquires a domain name, and he
26   conscientiously avoids any targeting or capitalization on established trademarks, or
27   registering domain names comprising words or phrases that would infringe upon existing
28

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 1   trademarks, which is evidenced by the domain names in his portfolio. See Blair Aff. ¶¶ 6,
 2   7, 10; see also Exs. A. B.
 3         46. Not all of Mr. Blair’s domain names that are listed for sale are actually for sale.
 4   See Ex. M, Pl_000377-Pl_000378, the Q&A Post.
 5         47. Mr. Blair has sold domain names for prices ranging from a few hundred dollars to
 6   $500,000. See Blair Aff. ¶ 30; see also Ex. A at Attachment 1.
 7         48. Most of these sales were made through commercial domain name resellers, such
 8   as Namejet Auction or Domain Agents. See Blair Aff. ¶ 31.
 9         49. Mr. Blair lists some of his other domain names for what some might consider
10   exorbitant prices. For example, Mr. Blair lists <dnas.com> for sale for $38,996,555,
11   <cryptocorp.com> for $9,679,721, <newsmedia.com> for $4,355,874,
12   <pharmacore.com> for $1,088,969, and <templarcrown.com> for $3,300,000. See Blair
13   Aff. ¶ 24; see also Ex. B.
14         50. Mr. Blair has never before been accused of cybersquatting. See Blair Aff. ¶ 36.
15         51. Mr. Blair has never before been a party to a UDRP proceeding. See Blair Aff. ¶
16   37.
17         52. Mr. Blair has never been a party to an action under the Anti-Cybersqutting
18   Consumer Protection Act. See Blair Aff. ¶ 38.
19         53. Mr. Blair did not provide false contact information when acquiring the Domain
20   Name. See Blair Aff. ¶ 39.
21         54. Mr. Blair did not fail to maintain accurate contact information for <lambo.com> or
22   any other of his domain names. See Blair Aff. ¶ 40.
23         55. For the times when <lambo.com> was directed to an operating website under
24   construction, Mr. Blair did not provide any false or misleading contact information on the
25   construction page. See Blair Aff. ¶ 41; Ex. C.
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 1   Dated: June 3, 2024
 2         Brooklyn, New York
 3                                             Respectfully submitted,
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